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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,                                 :    20-cr-405 (SHS)

              -v-                                         :    ORDER

WALLYS TINEO,                                             :

                                Defendant.                :

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SIDNEY H. STEIN, U.S. District Judge.

       The proceeding scheduled for October 27, 2020, will occur as a videoconference using
the CourtCall platform at 9:00 a.m. As requested, defense counsel will be given an opportunity
to speak with the defendant by telephone for 15 minutes before the proceeding begins; defense
counsel should make sure to answer the telephone number that was previously provided to
Chambers at that time.

        To optimize the quality of the video feed, only the Court, the defendant, defense counsel,
and counsel for the government will appear by video for the proceeding; all others will
participate by telephone. Due to the limited capacity of the CourtCall system, only one counsel
per party may participate. Co-counsel, members of the press, and the public may access the
audio feed of the conference by calling 855-268-7844 and using access code 32091812# and PIN
9921299#.

        In advance of the conference, Chambers will email the parties with further information on
how to access the conference. Those participating by video will be provided a link to be pasted
into their browser. The link is non-transferrable and can be used by only one person;
further, it should be used only at the time of the conference because accessing it earlier may
cause disruptions to other proceedings.

        To optimize use of the CourtCall technology, all those participating by video should:

             1. Use the most recent version of Firefox, Chrome, or Safari as the web browser. Do
                not use Internet Explorer.

             2. Use hard-wired internet or WiFi. If using WiFi, the device should be positioned
                as close to the Wi-Fi router as possible to ensure a strong signal. (Weak signals
                may cause delays or dropped feeds.)
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           3. Minimize the number of others using the same WiFi router during the conference.

Further, all participants must identify themselves every time they speak, spell any proper names
for the court reporter, and take care not to interrupt or speak over one another. Finally, all of
those accessing the conference — whether in listen-only mode or otherwise — are reminded that
recording or rebroadcasting of the proceeding is prohibited by law.

        If CourtCall does not work well enough and the Court decides to transition to its
teleconference line, counsel should call 888-273-3658 and use access code 7004275 to join the
call. (Members of the press and public may call the same number but will not be permitted to
speak during the conference.) In that event, and in accordance with the Court’s Emergency
Individual Rules and Practices in Light of COVID-19, available at
https://www.nysd.uscourts.gov/hon-jesse-m-furman, counsel should adhere to the following
rules and guidelines during the hearing:

           1. Each party should designate a single lawyer to speak on its behalf (including
              when noting the appearances of other counsel on the telephone).

           2. Counsel should use a landline whenever possible, should use a headset instead of
              a speakerphone, and must mute themselves whenever they are not speaking to
              eliminate background noise. In addition, counsel should not use voice-activated
              systems that do not allow the user to know when someone else is trying to speak
              at the same time.

           3. To facilitate an orderly teleconference and the creation of an accurate transcript,
              counsel are required to identify themselves every time they speak. Counsel
              should spell any proper names for the court reporter. Counsel should also take
              special care not to interrupt or speak over one another.

           4. If there is a beep or chime indicating that a new caller has joined while counsel is
              speaking, counsel should pause to allow the Court to ascertain the identity of the
              new participant and confirm that the court reporter has not been dropped from the
              call.

         If possible, defense counsel shall discuss the attached Waiver of Right to be Present at
Criminal Proceeding with the defendant prior to the proceeding. If the defendant consents, and
is able to sign the form (either personally or, in accordance with Standing Order 20-MC-174 of
March 27, 2020, by defense counsel), defense counsel shall file the executed form at least 24
hours prior to the proceeding. In the event the defendant consents, but counsel is unable to
obtain or affix the defendant’s signature on the form, the Court will conduct an inquiry at the
outset of the proceeding to determine whether it is appropriate for the Court to add the
defendant’s signature to the form.

       To the extent that there are any documents relevant to the proceeding (e.g., proposed
orders or documents regarding restitution, forfeiture, or removal), counsel should submit them to
the Court (by email or on ECF, as appropriate) at least at least 24 hours prior to the
proceeding. To the extent any documents require the defendant’s signature, defense counsel


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should endeavor to get them signed in advance of the proceeding as set forth above; if
defense counsel is unable to do so, the Court will conduct an inquiry during the proceeding
to determine whether it is appropriate for the Court to add the defendant’s signature.

Dated: New York, New York
       October 21, 2020




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